[Cite as State v. James, 2024-Ohio-3241.]




                      IN THE COURT OF APPEALS OF OHIO
                          THIRD APPELLATE DISTRICT
                               SENECA COUNTY




STATE OF OHIO,
                                                          CASE NO. 13-23-27
         PLAINTIFF-APPELLEE,

    v.

MATTHEW E. JAMES,                                         OPINION

         DEFENDANT-APPELLANT.



                  Appeal from Seneca County Common Pleas Court
                            Trial Court No. 23 CR 0057

                                      Judgment Affirmed

                            Date of Decision: August 26, 2024



APPEARANCES:

         W. Alex Smith for Appellant

         Angela M. Boes for Appellee
Case No. 13-23-27



WILLAMOWSKI, P.J.

       {¶1} Defendant-appellant Matthew E. James (“James”) brings this appeal

from the judgment of the Common Pleas Court of Seneca County entering judgment

of conviction on three felony counts. James claims on appeal that his convictions

were not supported by sufficient evidence. For the reasons set forth below, the

judgment is affirmed.

       {¶2} On February 2, 2023, James’ father, Roy, obtained an ex parte civil

protection order (“CPO”) prohibiting James from being in his home. On February

20, 2023, James went to Roy’s home and entered it, despite the CPO prohibiting

him from being there. Roy called the police and James refused to leave. James

eventually ran up the stairs and barricaded himself in a room there. James had a

hatchet and a baseball bat with him and threatened the police with physical violence.

Eventually, James surrendered and was placed under arrest.

       {¶3} On March 9, 2023, the Seneca County Grand Jury indicted James on

the following counts: 1) burglary in violation of R.C. 2911.12(A)(1), (D), a felony

of the second degree; 2) violating a protection order in violation of R.C.

2919.27(A)(1), (B)(4), a felony of the third degree; and 3) resisting arrest in

violation of R.C. 2921.33(C)(2), (D), a felony of the fourth degree.          At the

arraignment, James entered pleas of not guilty and not guilty by reason of insanity

to the charges. A jury trial was held from September 18 to September 20, 2023.


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The jury found James guilty as charged in the indictment. The trial court held a

sentencing hearing on September 26, 2023, and sentenced James to prison. James

appeals from this judgment and raises the following assignment of error.

          [James] was convicted of a violation of R.C. 2919.27(A)(1), (B)(4)
          and R.C. 2911.12(A)(1), (D) without legally sufficient evidence.

                               Sufficiency of the Evidence

          {¶4} The sole assignment of error claims that the convictions of counts one

and two were not supported by sufficient evidence.

          A sufficiency analysis “‘determine[s] whether the case may go to the
          jury or whether the evidence is legally sufficient to support the jury
          verdict as a matter of law.’” State v. Thompkins, 78 Ohio St.3d 380,
          386, (1997), quoting Black's Law Dictionary 1433 (6th Ed. 1990). If
          the state fails to present sufficient evidence on every element of an
          offense, then convicting a defendant for that offense violates the
          defendant's right to due process of law. Id. at 386-387,; see
          also Jackson v. Virginia, 443 U.S. 307, 316, (1979).

State v. Messenger, 2022-Ohio-4562, ¶ 13. The question of whether the evidence

presented at trial is legally sufficient to support a verdict is a question of law and

questions the adequacy of the evidence. State v. Hulbert, 2021-Ohio-2298, ¶ 5 (3d

Dist.).      “An appellate court's function when reviewing the sufficiency of

the evidence to support a criminal conviction is to examine the evidence admitted

at trial to determine whether such evidence, if believed, would convince the average

mind of the defendant's guilt beyond a reasonable doubt.” State v. Jenks, 61 Ohio

St.3d 259 (1991) superseded by constitutional amendment on other grounds.

Accordingly, “[t]he relevant inquiry is whether, after viewing the evidence in a light

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Case No. 13-23-27


most favorable to the prosecution, any rational trier of fact could have found the

essential elements of the crime proven beyond a reasonable doubt.” Id. “In deciding

if the evidence was sufficient, we neither resolve evidentiary conflicts nor assess the

credibility of witnesses, as both are functions reserved for the trier of fact.” State v.

Jones, 2013-Ohio-4775, ¶ 33 (1st Dist.).

       {¶5} The second count of the indictment alleged that James had violated the

CPO. The State was required to prove that James 1) recklessly 2) violated the terms

of a protection order and 3) that James was served with a copy of the CPO or

otherwise notified in one of the ways set forth in R.C. 2919.27(D) State v. Doss,

2019-Ohio-2247 (2d Dist.).        “A person acts recklessly when, with heedless

indifference to the consequences, the person disregards a substantial and

unjustifiable risk that the person's conduct is likely to cause a certain result or is

likely to be of a certain nature.” R.C. 2901.22(C). The CPO in this case required

James to vacate the premises. The trial court gave exclusive possession of the

residence to Roy. The CPO required James to remain at least 500 feet away from

Roy at all times. The CPO also stated that if James wished to remove his belongings

from the home, he needed to be accompanied by an officer in uniform.

       {¶6} Deputy Jeff McCoy (“McCoy”) testified that he personally served

James with a copy of the ex parte CPO on February 2, 2023. McCoy reviewed the

restrictions with James when he provided James with a copy, including telling him

that he needed to vacate the premises and stay away. A copy of the final CPO was

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Case No. 13-23-27


admitted as exhibit 1. McCoy testified that the final CPO contained the same

restrictions as was included in the ex parte CPO McCoy served to James. Roy

testified that James entered the home on February 20, 2023, stating that he wanted

to pick up some of his clothes. James was not accompanied by any police officer

when he entered Roy’s home. These actions were in violation of the provisions of

the CPO. James was aware that there was a CPO and that it had gone into effect

only 18 days previously. James argued with the officers that it was not fair, but he

knew he was not supposed to be at that location at that time. By going to the home

and entering it while Roy was present, James acted with indifference to the

consequences of violating the terms of the CPO.

       {¶7} James argues that he could not have violated the terms of the CPO

because he had not received service of the final order, only the temporary order. A

review of Exhibit 1 shows that the clerk of courts indicated that a copy of the final

CPO order was sent via ordinary mail to James on February 14, 2023. Good service

of items sent via ordinary mail is presumed when the fact of mailing is entered on

the record as long as the envelope is not returned showing failure of delivery. Wells

Fargo Bank, N.A. v. Lundeen, 2020-Ohio-28, ¶ 17 (8th Dist.) and Civ.R. 4.6(D).

On appeal James denies receiving it, though he did not testify at the trial. However,

the question of whether the final order was ever received is irrelevant because the

parties agree that James received a copy of the temporary order which was

personally served upon him and explained to him by McCoy.

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Case No. 13-23-27


        {¶8} Pursuant to the version of R.C. 2919.27(D) in effect at the time of

James entering the home, service of the CPO is not a requirement for conviction as

long as one of the statutory exceptions to service is proven.1

        In a prosecution for a violation of this section, it is not necessary for
        the prosecution to prove that the protection order or consent
        agreement was served on the defendant if the prosecution proves that
        the defendant was shown the protection order or consent agreement
        or a copy of either or a judge, magistrate, or law enforcement officer
        informed the defendant that a protection order or consent agreement
        had been issued and proves that the defendant recklessly violated the
        terms of the order or agreement.

R.C. 2919.27(D). James admitted on the body cam footage that he knew of the CPO

when speaking with the officers at the home. McCoy testified that he had previously

informed James about the CPO and what it required from him. McCoy also testified

that James indicated he understood what he was told. Thus the undisputed evidence

was that James was shown the CPO by a law enforcement officer and that officer

informed James that it had been issued and explained the contents. This meets the

statutory requirements excepting the proof of service of the CPO.

        {¶9} This then raises the question of whether James acted recklessly when

he violated the terms of the CPO.2 Roy testified that James just walked into the

home saying he “was grabbing clothes and was leaving”. Video Tr. 14. Roy also

testified that when he reminded James that there was a CPO, James responded



1
  This version of the statute was in effect from September 27, 2017, to April 3, 2023, with the offense
occurring on February 20, 2023.
2
  Reckless behavior was previously defined in ¶ 5.

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Case No. 13-23-27


“Don’t worry, I’m out of here, I’m just leaving, just give me some money and I’ll

be gone.” Video Tr. 16. This could reasonably be found by a trier of fact to be

acting recklessly in violation of the CPO as it shows that he knew there was a CPO

and chose to come to the home anyway. Viewing the evidence in a light most

favorable to the State, the evidence is sufficient to support a conviction for a

violation of the CPO.

       {¶10} In the first count, James was charged with burglary. To prove that

James engaged in a burglary, the State must prove that James 1) by force, stealth, or

deception 2) trespassed in an occupied structure 3) with the purpose to commit any

criminal offense. R.C. 2911.12(A)(1). The act of opening a closed, but unlocked

door is sufficient to establish that “force” was used under Ohio law. State v.

Rollison, 2010-Ohio-2162, ¶ 23 (3d Dist.).

       {¶11} Here, Roy testified that on February 20, 2023, he was sitting in his

kitchen when he heard the front door open. Roy got up and walked to the entry to

the kitchen to see James walking in Roy’s home. James then went upstairs to get

some of his belongings. When James came back down, he asked Roy for some

money, and then became agitated when Roy told James he had no money to give to

James. Roy told James he was not allowed to be there, but James did not leave.

Roy was nervous due to James behavior, so he called 911. Roy also testified that

James did not knock or wait for an invitation before entering the home through the

unlocked door.

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Case No. 13-23-27


       {¶12} By opening the closed, but unlocked front door, James used force to

enter into the home. Roy was home at the time, making it occupied. Roy did not

give James permission to be there and demanded that James leave, showing a

trespass. Finally, James knew he was committing a crime by being there as he was

aware of the CPO. Roy testified that he told James he could not be there because of

the CPO. As discussed above, James was violating the CPO, a criminal act, when

he entered the home to pick up clothing without being accompanied by a police

officer in uniform. Viewing the evidence in a light most favorable to the State, there

is sufficient evidence to support a conviction for burglary.

       {¶13} As the evidence was sufficient to support convictions for counts one

and two of the indictment, the assignment of error is overruled. No challenge was

brought on appeal to the conviction for resisting arrest. Thus, we need not address

that conviction.

       {¶14} Having found no prejudicial errors in the particulars assigned and

argued, the judgment of the Common Pleas Court of Seneca County is affirmed.

                                                                 Judgment Affirmed

ZIMMERMAN and MILLER, J.J., concur.

/hls




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